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                                  CERTIFICATE OF SERVICE

          I hereby certify that the following documents:

               1. PLAINTIFF’S NOTICE OF MOTION TO DISMISS
          DEFENDANTS’ AMENDED COUNTERCLAIMS;
               2. BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO DISMISS
          DEFENDANTS’ AMENDED COUNTERCLAIMS; and
              3. [Proposed] ORDER FOR MOTION TO DISMISS DEFENDANTS’
          AMENDED COUNTERCLAIMS,
 have been filed electronically and are available for viewing and downloading from the ECF

 System, and are being served upon all counsel of record via ECF transmission in accordance with

 the Electronic Filing System of the Court, this 28th day of October, 2021.




                                                       s/ Aaron S. Eckenthal
                                                       Aaron S. Eckenthal




                                                                     Document Filed Electronically
                                                                                WORDAP 6.1-001
                                                                         Civil Action No. 21-14431




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